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                        IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
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                                       No. 22-13444-HH
                                   ________________________

CHRISTOPHER BAUGHCUM, JR.,
ZANE MEYERS,
SOPHIE LONG,
FIREARMS POLICY COALITION, INC.,

                                                   Plaintiffs - Appellants,

versus

GENOLA JACKSON,
in her individual capacity and in her official capacity
as Judge of the Laurens County Probate Court,
JANICE D. SPIRES,
in her individual capacity and in her official capacity
as Judge of the Houston County Probate Court,
KATHRYN B. MARTIN,
in her individual capacity and in her official capacity
as Judge of the Lamar County Probate Court,
CHRIS WRIGHT, in his individual capacity
and in his official capacity as Commissioner of the Department of Public Safety

                                                Defendants - Appellees.
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                           Appeal from the United States District Court
                              for the Southern District of Georgia
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Before WILLIAM PRYOR, Chief Judge, WILSON, JORDAN, ROSENBAUM, JILL PRYOR,
NEWSOM, BRANCH, GRANT, LUCK, LAGOA, and BRASHER, Circuit Judges.

         No Judge in regular active service on the Court having requested that the Court be polled

on hearing en banc, the Petition for Hearing En Banc is DENIED. See FRAP 35.
